Case 9:18-cv-80176-BB Document 853 Entered on FLSD Docket 12/20/2021 Page 1 of 4
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 1                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
 2                           WEST PALM BEACH DIVISION
                            CASE NO. 9:18-cv-80176-BB
 3
      IRA KLEIMAN, as the personal representative
 4    of the Estate of David Kleiman, and W&K Info
      Defense Research, LLC,
 5
                  Plaintiffs,                                       November 30, 2021
 6                                                                  4:59 p.m.
                 vs.
 7
      CRAIG WRIGHT,
 8
                Defendant.                    Pages 1 THROUGH 4
 9    ______________________________________________________________

10                         TRANSCRIPT OF TRIAL DAY 17
                         BEFORE THE HONORABLE BETH BLOOM
11                        UNITED STATES DISTRICT JUDGE
                                And a Jury of 10
12
      Appearances:
13    FOR THE PLAINTIFF:      ROCHE FREEDMAN, LLP
                              DEVIN FREEDMAN, ESQ.
14                            KYLE ROCHE, ESQ.
                              200 South Biscayne, Suite 5500
15                            Miami, Florida 33131

16                            BOIES SCHILLER & FLEXNER
                              ANDREW BRENNER, ESQ.
17                            100 Southeast 2nd Street, Suite 2800
                              Miami, Florida 33131
18
      FOR THE DEFENDANT:      RIVERO MESTRE, LLP
19                            ANDRES RIVERO, ESQ.
                              AMANDA M. MCGOVERN, ESQ.
20                            2525 Ponce de Leon Boulevard, Suite 1000
                              Coral Gables, Florida 33134
21
      COURT REPORTER:         Yvette Hernandez
22                            U.S. District Court
                              400 North Miami Avenue, Room 10-2
23                            Miami, Florida 33128
                              yvette_hernandez@flsd.uscourts.gov
24

25

                                Yvette Hernandez, Official Court Reporter
                                    400 North Miami Avenue, 10-2
                                         Miami, Florida 33128
                                            (305) 523-5698
Case 9:18-cv-80176-BB Document 853 Entered on FLSD Docket 12/20/2021 Page 2 of 4
                                                                                            2


 1         (Call to order of the Court, 4:59 p.m.)

 2               All right.    It's good to see everyone.

 3               Our jury is still deliberating.                        Is there anything we

 4    need to address?

 5               MR. FREEDMAN:      Not for Plaintiffs, Your Honor.

 6               MR. RIVERO:    Not from the Defendants, Your Honor.

 7               THE COURT:    All right.             And moving forward, obviously,

 8    we never know when the jury is going to arrive at their

 9    verdict, but I would ask that you continue to stay close at

10    hand.    I would like to daily give them the admonishment in

11    person.    So I would like you to be present obviously when I

12    bring the jury into the courtroom.

13               All right.    Let's bring in the jury.

14         (Before the Jury, 4:59 p.m.)

15               THE COURT:    All right.             Go ahead and have a seat.

16               It's good to see each of you, Ladies and Gentlemen.

17    As I understand, each of you were here at 10:00 and you did

18    begin deliberating.      As you can see, it is 5:00.                     So we will

19    adjourn for the day.

20               And I will expect to see each of you back tomorrow

21    morning at 10:00 a.m.       Please remember to wait outside in the

22    vestibule until all of you are here.                      And then the court

23    security officer will bring you into the jury room, which will

24    remain locked.

25               As we adjourn for the evening, please remember that

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Case 9:18-cv-80176-BB Document 853 Entered on FLSD Docket 12/20/2021 Page 3 of 4
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 1    you are not to discuss this case with anyone, nor permit anyone

 2    to speak with you.      All of the evidence has been received and

 3    you are not to conduct any independent research.

 4               Have a nice evening, and we'll see you tomorrow

 5    morning at 10:00 a.m.

 6         (Jury not present, 5:01 p.m.)

 7               THE COURT:    It's good to see each of you.                Have a

 8    pleasant evening.

 9               MS. McGOVERN:      Thank you.

10               MR. RIVERO:    Have a good night, Your Honor.

11         (Proceedings adjourned at 5:02 p.m.)

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Case 9:18-cv-80176-BB Document 853 Entered on FLSD Docket 12/20/2021 Page 4 of 4
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 1    UNITED STATES OF AMERICA                  )

 2    ss:

 3    SOUTHERN DISTRICT OF FLORIDA              )

 4                             C E R T I F I C A T E

 5                I, Yvette Hernandez, Certified Shorthand Reporter in

 6    and for the United States District Court for the Southern

 7    District of Florida, do hereby certify that I was present at

 8    and reported in machine shorthand the proceedings had the 30th

 9    day of November, 2021, in the above-mentioned court; and that

10    the foregoing transcript is a true, correct, and complete

11    transcript of my stenographic notes.

12                I further certify that this transcript contains pages

13    1 - 4.

14                IN WITNESS WHEREOF, I have hereunto set my hand at

15    Miami, Florida this 2nd day of December, 2021.

16

17                            /s/Yvette Hernandez
                              Yvette Hernandez, CSR, RPR, CLR, CRR, RMR
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